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 4
       Attorney for Defendant
 5     JOHNNY SILVA
 6
                                 UNITED STATES DISTRICT COURT
 7
                             SOUTHERN DISTRICT OF CALIFORNIA
 8                                 (Hon. Dana M. Sabraw)
 9     UNITED STATES OF AMERICA,              )     Case No. 23-cr-21-DMS
                                              )
10                  Plaintiff,                )
                                              )     JOINT MOTION TO CONTINUE
11     v.                                     )     MOTION HEARING AND TRIAL
                                              )     SETTING
12     JOHNNY SILVA, et. al.                  )
                                              )
13                  Defendants.               )     DATE: 1/20/23 @ 11 am
                                              )     COURTROOM 13A
14
15           The parties to the instant case, by and through their attorneys, hereby move the
16     Court for an Order continuing the motion hearing and trial setting scheduled for
17     January 20, 2023 at 11 a.m. to March 3, 2023 at 11 a.m. in order for the parties to
18     further negotiate a possible disposition and conduct further investigation.
19           Defendant SILVA is out of custody and will file an Acknowledgement.
20     Defendant TAPIA-MARTINEZ is in custody. Time under the Speedy Trial Act
21     should be excluded. A discovery motion is on file.
22                                                  Respectfully Submitted,
23     Dated: January 13, 2023                      /s Keith H. Rutman
                                                    KEITH H. RUTMAN
24                                                  Attorney for Defendant
                                                    ISAI BANDA IBARRA
25                                                  Email: krutman@krutmanlaw.com
26     Dated: January 13, 2023                      /s Soojin Cha
                                                    SOOJIN CHA
27                                                  Attorney for Defendant
                                                    JORGE LUIS TAPIA-MARTINEZ
28                                                  Email: Soojin_Cha@fd.org
     Case 3:23-cr-00021-DMS Document 44 Filed 01/13/23 PageID.177 Page 2 of 2



 1
       Dated: January 13, 2023                         s/Badih Mouannes
 2                                                     BADIH MOUANNES
                                                       Assistant U.S. Attorney
 3                                                     Email: Badih.Mouannes@usdoj.gov
 4
                                 SIGNATURE CERTIFICATION
 5
             Pursuant to § 2(f) of the Southern District of California's Electronic Case Filing
 6
       Administrative Policies and Procedures Manual, I hereby certify that the content of
 7
       this document is acceptable to all persons required to sign the document and have
 8
       obtained authorization for the electronic signatures of all parties on the document.
 9
10     Dated: January 13, 2023                         s/ Keith H. Rutman
                                                       KEITH H. RUTMAN
11                                                     Attorney for Defendant
                                                       Email: krutman@krutmanlaw.com
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